         Entered on Docket June 4, 2015
                                                      Below is the Order of the Court.


                                                      _______________________________
                                                      Marc Barreca
1
                                                      U.S. Bankruptcy Judge
2                                                     (Dated as of Entered on Docket date above)


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     ________________________________________________________________
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8                              UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF WASHINGTON AT SEATTLE
9
     IN RE:                                                        NO. 14-10421MLB
10
     CASEY INGELS,                                                 ADV. NO. 14-01387MLB
11                        Debtors.

12
     JOHN S. PETERSON, the Chapter 7 Trustee for
13   the Estate of CASEY INGELS                                    PRETRIAL ORDER

14                        Plaintiff,
     v.
15   CASEY INGELS,

16                        Defendants.

17

18                                              JURISDICTION

19      A. The court has jurisdiction over this matter pursuant to 28 USC 157 and 1334.

20      B. Venue is proper pursuant to 18 USC 1409.

21      C. This is a core proceeding pursuant to 28 USC 157(b)(2).

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                                                                                        JOHN S. PETERSON
     PRETRIAL ORDER - Page 1 of 5                                                             ATTORNEY AT LAW
24                                                                                                     PO BOX 829
                                                                                            KINGSTON, WA 98346
25                                                                                                   (360)626-4392
                                                                                      kingstontrustee@hotmail.com




      Case 14-01387-CMA          Doc 40    Filed 06/04/15      Ent. 06/04/15 11:13:34              Pg. 1 of 5
Case 14-01387-CMA   Doc 40   Filed 06/04/15   Ent. 06/04/15 11:13:34   Pg. 2 of 5
Case 14-01387-CMA   Doc 40   Filed 06/04/15   Ent. 06/04/15 11:13:34   Pg. 3 of 5
Case 14-01387-CMA   Doc 40   Filed 06/04/15   Ent. 06/04/15 11:13:34   Pg. 4 of 5
     0- 10 Pl aintiffs Initial Disclosures, May Offer
     0- 11 Plaintiffs Declaration in Support of Response to Summary Judgment Motion
 2   (No party is required to list any exhibit which is listed by another party, or any exhibit to be used for
     IInpeachment only.)
 3
                                               ACTION BY THE COURT

     (a ) fbi:; case is scheduled for trial on June 8, 2015, at 10:30 am.
 5
     (b) Tr ial briefs shall be submitted to the court on or before June 1,2015.
 6
     (c) (The court has prev iously denied the Defendant's motion for summary judgment.
 7

 8           This order has been approved by the parties as evidenced by the signatures of their cOW1sel. This

 9   orcl <.:r shall cOlltrol the subsequeut course of the actioll ulliess modified by a subsequent order. This order

10   sll;L11Ilot be amended except by order of the Cmll'L

II

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                                                       Approved for Entry
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                                                         !s/ [anll'e McFarlaIle
14   JO IF, S.                                         JAMIEJ McFARLANE, WSBA #41320
                                                       Attorney for Defendant Casey Ingels
IS

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                                                                                            JOHN S. PETERSON
     I'HETRIAL ORDER - Page 5 of 5                                                                ATTORNEY AT LAW
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